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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                                                                       ORDER
              v.                                                     19-CR-125-A

CHARLES WASHINGTON
                                   Defendant.



       The motion of the defendant, Charles Washington, to reinstate a June 20, 2019

oral order pursuant to 18 U.S.C. §3142 granting him pretrial release, Dkt. No. 289,

which the United States does not oppose, is conditionally granted. Defendant

Washington’s release is conditioned upon U.S. Probation re-inspecting and approving

the residence where the defendant will be residing on home detention subject to

electronic monitoring, and upon the defendant’s compliance with the conditions of his

state bail. The U.S. Marshals may release the defendant when orally informed by the

defendant’s supervising Pretrial Services Officer that the residence has been approved.

Finally, the defendant shall again acknowledge to his supervising Pretrial Services

Officer that he understands all the terms and conditions of his pretrial release and that

any violation could lead to revocation of his release, financial harm to his sureties, and

to additional criminal charges.

       SO ORDERED.

                                          _s/Richard J. Arcara_________
                                          HONORABLE RICHARD J. ARCARA
                                          UNITED STATES DISTRICT COURT

Dated: May 5, 2020
